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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

W.B., by and through his father and legal
guardian, David B., and A.W., by and
through her mother and legal guardian,
Brittany C., on behalf of themselves and
all others similarly situated,

             Plaintiffs,

v.                                                  Case No.:

SIMONE MARSTILLER, in her official
capacity as Secretary for the FLORIDA
AGENCY FOR HEALTH CARE
ADMINISTRATION,

             Defendant.

CLASS ACTION COMPLAINT FOR DECLARATORY AND INJUNCTIVE
                        RELIEF

                           I.   PRELIMINARY STATEMENT

      1.     Plaintiffs W.B. and A.W. are children with multiple medically

complex conditions who sought coverage of specialty medical services under

Florida’s Medicaid program. Defendant denied those requests based on a standard

of medical necessity that conflicts with the coverage standard for children’s

services required by federal Medicaid law.

      2.     Title XIX of the Social Security Act (the Medicaid Act) mandates

coverage of “early and periodic screening, diagnostic and treatment services” for
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Medicaid-enrolled children (EPSDT). 42 U.S.C. §§ 1396a(a)(10)(A),

1396d(a)(4)(B). Under EPSDT, states must provide all Medicaid-covered services

necessary to “correct or ameliorate” physical or mental conditions of Medicaid

beneficiaries under age 21. Id.; id. § 1396d(r)(5)

      3.      Defendant’s coverage standard, which is set forth in Fla. Admin. Code

R. 59G-1.010, is more restrictive than what is allowed for under EPSDT.

Application of this standard has resulted in improper denial of Medicaid-covered

services that W.B. and A.W. need to correct and ameliorate their medical

conditions.

      4.      W.B. and A.W. bring this class action against Defendant, Simone

Marstiller, in her official capacity as the Secretary of the Florida Agency for

Health Care Administration (AHCA or the Agency) to enforce their right to have

the correct standard for Medicaid coverage apply to them and to all Medicaid

beneficiaries under age 21.

                                II. JURISDICTION

      5.      Jurisdiction is conferred on this Court by 28 U.S.C. § 1331, which

provides for original jurisdiction over all civil suits involving questions of federal

law, and 28 U.S.C. §§ 1343(3) and (4), which grant this Court original jurisdiction

in all actions authorized by 42 U.S.C. § 1983 to redress the deprivation under color




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of State law of any rights, privileges, or immunities guaranteed by the U.S.

Constitution and Acts of Congress.

      6.     Plaintiffs seek declaratory, injunctive, and other appropriate relief,

pursuant to 28 U.S.C. §§ 2201 and 2202; Fed. R. Civ. P. 23, 57 and 65; and 42

U.S.C. § 1983.

      7.     Pursuant to 28 U.S.C. § 1391(b), venue is proper as Plaintiffs W.B.

and A.W. reside in the district and a substantial part of the events or omissions

giving rise to their claims also occurred in the district.

                                    III. PARTIES

      8.     Plaintiff, W.B., is a one-year-old boy diagnosed with a rare genetic

disorder known as CHARGE syndrome. He is enrolled in Florida’s Medicaid

program. W.B. resides in St. Augustine, St. Johns County, Florida with, David B.,

his father and legal guardian.

      9.     Plaintiff, A.W., is an 11-year-old girl who has significant disabilities.

She is enrolled in Florida’s Medicaid program. She resides in Jacksonville, Duval

County, Florida with Brittany C., her mother and legal guardian.

      10.    Defendant, Simone Marstiller, is sued in her official capacity as the

Secretary of AHCA, which is the single state agency responsible for the

administration of Florida’s Medicaid program. 42 U.S.C. § 1396a(a)(5); 42 C.F.R.

§ 431.10; Fla. Stat. § 20.42.

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      11.        Secretary Marstiller directs and oversees all department programs,

including Florida’s Medicaid program. Fla. Stat. §§ 20.42, 409.902(1). Secretary

Marstiller is responsible for ensuring that the operation of the Florida Medicaid

program complies with the Medicaid Act and its implementing regulations.

Secretary Marstiller is based, and her Agency is headquartered in Tallahassee,

Leon County, Florida.

                               IV. CLASS ALLEGATIONS

      12.        Plaintiffs bring this class action on behalf of themselves and all other

individuals similarly situated in the State of Florida pursuant to Rule 23(a) and

(b)(2) of the Federal Rules of Civil Procedure.

      13.        The Plaintiffs bring this case as a statewide class action on behalf of:

                 All Florida Medicaid beneficiaries under age 21 who
                 have been or will be required to establish their need for
                 Medicaid services under Defendant's standard for
                 medical necessity set forth in Fla. Admin. Code R. 59G-
                 1.010.

      14.        The requirements of Rule 23(a) and (b)(2) of the Federal Rules of

Civil Procedure are met for the following reasons:

            a.        The class is so numerous that joinder of all members is

                      impracticable. As of March 31, 2021, there were 2,366,388

                      children under age 21 enrolled in Florida’s Medicaid program

                      and entitled to EPSDT services.

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        b.      The claims of the named Plaintiffs and putative class raise

                common questions of law and fact. The question of law common

                to the class is whether Defendant’s medical necessity standard is

                more restrictive than and violates the coverage standard

                mandated by the EPSDT provisions of the federal Medicaid Act.

                Common questions of fact include whether the Defendant is

                applying its adopted standard to Medicaid-enrolled children

                under age 21, rather than the Medicaid Act’s broader standard

                requiring coverage of services that “correct or ameliorate”

                illnesses or conditions.

        c.      The claims of the Plaintiffs are typical of the claims of the class

                in that the individual Plaintiffs and members of the class are all

                under 21 years old and are required to establish eligibility for

                Medicaid services pursuant to Fla. Admin. Code R. 59G-1.010.

        d.      The representative Plaintiffs will fairly and adequately protect

                the rights of the class because they suffer from the same

                deprivation as the other class members and have been denied the

                same federal right that they seek to enforce on behalf of those

                other class members.




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            e.        The Plaintiffs’ interests in obtaining injunctive relief for the

                      violations of their rights and privileges are consistent with and

                      not antagonistic to those of any person within the class.

            f.        The interests of the class will be adequately protected as

                      Plaintiffs are represented by attorneys with experience in

                      Medicaid class action litigation.

      15.        Defendant has acted on grounds generally applicable to the class by

violating provisions of the federal Medicaid Act thereby making it appropriate for

declaratory and injunctive relief on behalf of the class under Rule 23(b)(2) of the

Federal Rules of Civil Procedure.

 V. LEGAL FRAMEWORK AND FACTUAL ALLEGATIONS COMMON
                    TO THE CLASS

      A.         Medicaid Framework

      16.        The Medicaid Act, Title XIX of the Social Security Act, 42 U.S.C. §§

1396-1396w-5, establishes a medical assistance program cooperatively funded by

the federal and state governments.

      17.        Medicaid is designed to “enabl[e] each State, as far as practicable...to

furnish (1) medical assistance on behalf of families with dependent children and of

aged, blind, or disabled individuals, whose income and resources are insufficient to

meet the costs of necessary medical services, and (2) rehabilitation and other



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services to help such families and individuals attain or retain capability for

independence and self-care....” 42 U.S.C. § 1396-1.

      18.    States are required to administer Medicaid in “the best interests of

recipients.” 42 U.S.C. § 1396a(a)(19).

      19.    The Centers for Medicare & Medicaid Services (CMS) of the United

States’ Department of Health and Human Services administers Medicaid at the

federal level. CMS’s rules and regulations are set forth in 42 C.F.R. §§ 430.0-

456.725 and in the CMS State Medicaid Manual.

      20.    A state’s participation in Medicaid is voluntary. Once a state elects to

participate, it must adhere to the requirements established by the United States

Constitution, the Medicaid Act, and the rules promulgated by CMS. 42 U.S.C. §

1396-1; 42 C.F.R. § 430.12.

      21.    Under federal Medicaid regulations, states participating in the

Medicaid program:

             must provide that the State will pay for services furnished
             in another State to the same extent that it would pay for
             services furnished within its boundaries if the services
             are furnished to a beneficiary who is a resident of the
             State, and any of the following conditions is met…[t]he
             State determines, on the basis of medical advice, that the
             needed medical services, or necessary supplementary
             resources, are more readily available in the other State….

42 C.F.R. § 431.52.



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      B.     The Medicaid Act’s EPSDT Mandate

      22.    The federal Medicaid statute’s EPSDT provisions establish

requirements for participating states to provide services for children that differ

from the standards that apply to covering services for adults.

      23.    Federal law requires states to provide certain mandatory benefits and

services. For Medicaid-eligible children under 21, state Medicaid programs must

provide “early and periodic screening, diagnostic and treatment services.” See 42

U.S.C. §§ 1396a(a)(10)(A), 1396a(a)(43), 1396d(a)(4)(B), and 1396d(r).

      24.    The Medicaid Act’s EPSDT provisions require that any of the services

described in 42 U.S.C. § 1396d(a) must be provided when they are “necessary

health care, diagnostic services, treatment and other measures…to correct or

ameliorate defects and physical and mental illnesses and conditions…regardless of

whether or not such services are covered” for adults. Id. § 1396d(r)(5) (emphasis

added).

      25.    Services that fall under 42 U.S.C. § 1396d(a) include outpatient

hospital services and home health care services (including medical equipment and

supplies). See 42 U.S.C. §§ 1396d(a)(2)(A) & (a)(7); 42 C.F.R. § 440.70(b)(3)

(regulating home health services); see also Fla. Stat. § 409.905(4).

      26.    A service will “correct or ameliorate” the child’s condition if it

corrects, compensates for, improves a condition, or prevents a condition from

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worsening, even if the condition cannot be prevented or cured. U.S. Dep’t of

Health & Human Servs., Ctrs. for Medicare & Medicaid Servs. (CMS), EPSDT: A

Guide for States: Coverage in the Medicaid Benefit for Children and Adolescents

at 10 (June 2014) (CMS, EPSDT Guide). 1

       27.    While states are “permitted (but not required) to set parameters that

apply to the determination of medical necessity in individual cases…those

parameters may not contradict or be more restrictive than the federal [EPSDT]

statutory requirement.” Id. at 23.

       28.    For example, a state “may cover services in the most cost effective

mode,” but the state must ensure that “the less expensive service is equally

effective and actually available.” Id. at 25 (emphasis added).

       29.    Furthermore, “a state may not deny medically necessary treatment to a

child based on cost alone” and “[t]he child’s quality of life must also be

considered.” Id.

       30.    States must also consider and give weight to the opinions of a

beneficiary’s treating professional. Both the treating professional and the state have

a role to play in evaluating whether a service is necessary to correct or ameliorate a

child’s condition. Id. at 24. The state cannot dismiss the treating professional’s



1
 The CMS EPSDT Guide can be accessed at: https://www.medicaid.gov/sites/default/files/2019-
12/epsdt_coverage_guide.pdf.
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recommendation without consideration and, where there is a disagreement, must

decide, based on the evidence, whether the service should be covered. Id.

      C.        Florida’s Medicaid Program

     i.         Administration of Florida’s Medicaid Program

      31.       Florida participates in the Medicaid program and therefore must meet

the requirements of the federal Medicaid Act and implementing regulations. Fla.

Stat. §§ 409.901-.9205; 42 U.S.C. § 1396-1; 42 C.F.R. § 430.12.

      32.       As the single state agency in Florida ultimately responsible for the

oversight of the State’s entire Medicaid program, AHCA is responsible for

determinations of whether a requested Medicaid service is medically necessary.

Fla. Stat. § 409.902(1).

          33.   The Florida Medicaid program does not itself provide health care

services directly to enrollees, nor does it provide those enrollees with money to

purchase health care services directly. Rather, Florida’s Medicaid program is a

vendor payment program wherein Defendant, or managed care organizations

(MCOs) with whom Defendant contracts, reimburse participating providers for the

services they provide to enrollees.

          34.   Florida’s Medicaid program provides health care to beneficiaries one

of two ways: on a Fee-For-Service (FFS) basis or through MCOs paid on a per-




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member-per-month capitation basis, referred to in Florida law as “managed care

plans.” 2 Fla. Stat. §§ 409.962(10), 409.966, .967, .968, .971.

      35.    For those Medicaid beneficiaries enrolled in FFS, Defendant contracts

with a Quality Improvement Organization (QIO) called eQHealth Solutions, Inc.

(eQHealth) to evaluate whether a service should be covered by Medicaid.

      36.    When AHCA, or one of its contractors, denies, reduces, or terminates

a Medicaid service, the Medicaid beneficiary is entitled to a hearing with AHCA’s

Office of Fair Hearings. See 42 C.F.R. § 431.220; 42 C.F.R. § 438.408(f); Fla.

Admin. Code R. 59G-1.100.

      ii.    Florida’s Medical Necessity Standard

      37.    To evaluate whether a Medicaid beneficiary is entitled to coverage of

a service, Defendant, in Florida’s administrative code, defines “medically

necessary” and “medical necessity” as follows:

             The medical or allied care, goods, or services furnished
             or ordered must meet the following conditions:

             •      Be necessary to protect life, to prevent significant
             illness or significant disability, or to alleviate severe pain

             •     Be individualized, specific, and consistent with
             symptoms or confirmed diagnosis of the illness or injury
             under treatment, and not in excess of the patient’s needs




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             •     Be consistent with generally accepted professional
             medical standards as determined by the Medicaid
             program, and not experimental or investigational

             •      Be reflective of the level of service that can be
             safely furnished, and for which no equally effective and
             more conservative or less costly treatment is available
             statewide

             •      Be furnished in a manner not primarily intended
             for the convenience of the recipient, the recipient's
             caretaker, or the provider

             The fact that a provider has prescribed, recommended, or
             approved medical or allied care, goods, or services does
             not, in itself, make such care, goods or services medically
             necessary or a medical necessity or a covered service.

Fla. Admin. Code R. 59G-1.010 (incorporating by reference the provisions of the

Florida Medicaid Definitions Policy, August 2017).

      38.    All conditions set forth in Defendant’s standard of medical necessity

must be met before Florida Medicaid coverage will be authorized. See Fla. Admin.

Code R. 59G-1.035(6) (“In order for the health service to be covered under the

Florida Medicaid program, it must also meet all other medical necessity criteria as

defined in subsection 59G-1.010….”).

      39.    Under Defendant’s standard, a service will not be covered by the

Medicaid program, unless it is, among other things, “necessary to protect life, to

prevent significant illness or significant disability, or to alleviate severe pain.” Fla.

Admin. Code R. 59G-1.010.

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      40.    In comparison, the federal EPSDT provisions require only that a

requested service be necessary to “correct or ameliorate” a child’s illness,

disability, or other health condition. 42 U.S.C. § 1396d(r)(5).

      41.    The Medicaid Act does not allow the Defendant to require that an

illness be significant or that pain be severe for treatment to be covered. Thus, the

first prong of Defendant’s standard of medical necessity incorporates coverage

criteria that is more restrictive than what is allowed under EPSDT.

      42.    Defendant’s medical necessity standard requires that the requested

service “be furnished in a manner not primarily intended for the convenience of the

recipient, the recipient’s caretaker, or the provider.” Id.

      43.    The federal Medicaid EPSDT provisions do not authorize the

Defendant to consider “convenience” as a factor in evaluating whether Medicaid

coverage is required and, instead “encompasses a more expansive view, allowing

for services that sustain or support, as opposed to actually treating the disability.”

C.F. v. Dep’t of Children and Families, 934 So.2d 1, 6 (Fla. 3d DCA 2005).

      44.      Florida’s state courts have repeatedly found that Defendant’s

standard for deciding whether a service is medically necessary for an EPSDT-

eligible child excludes coverage of services needed to ameliorate a condition or

prevent a condition from worsening.




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      45.    In 2005, the court in C.F. reversed the state’s decision to deny

services to an EPSDT-eligible child finding that the state “improperly applied a

more restrictive standard of ‘medical necessity’ [Fla. Admin. Code R. 59G-1.010]

than that outlined by federal Medicaid law.” Id.

      46.    In February 2012, I.B. v. Agency for Health Care Admin., 87 So.3d 6,

8-10 (Fla. 3d DCA 2012) reversed the Defendant’s decision denying coverage for

services needed by an EPSDT-eligible child, finding that the Defendant “relied

upon an incorrect and inapplicable rule [Fla. Admin. Code R. 59G-1.010] to

determine medical necessity.”

      47.    In August 2012, E.B. v. Agency for Health Care Admin., 94 So.3d

708, 708-709 (Fla. 4th DCA 2012), reversed the Defendant’s decision denying

home health care to an EPSDT-enrolled child due to the failure “to consider the

federal early, periodic, screening, diagnostic and treatment (“EPSDT”) standard in

making its determination as to which services requested by E.B. were covered by

the Medicaid…Program.”

      48.    Thereafter, Defendant wrote an internal memo, dated August 5, 2014,

to justify its requirement that requested Medicaid services for children be evaluated

under the same medical necessity standards that the State applies to adults. See

AHCA, “Summary Memorandum: Medical Necessity as a Limitation on Medicaid

Services, Including EPSDT” (AHCA EPSDT Memo) (Ex. 1, hereto).

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       49.   The AHCA EPSDT Memo recites Defendant’s standard of medical

necessity in Fla. Admin. Code R. 59G-1.010 and then sets forth that “states may

place limits on Medicaid state plan services, including EPSDT services…based on

the state’s definition of ‘medical necessity.’” (Ex. 1, p. 10).

       50.   The AHCA EPSDT Memo states that it is an erroneous legal position

to hold that the medical necessity standard is different for children and adults. (Ex.

1, p. 12).

       51.   The AHCA EPSDT Memo states that “a treating physician’s opinion

regarding the medical necessity of a service is not dispositive or accorded

deference.” (Ex. 1, p. 10).

       52.   The AHCA EPSDT Memo provides that coverage decisions can

consider the “convenience” prong of Fla. Admin. Code R. 59G-1.010 with one

unexplained exception—private duty nursing. (Ex. 1, p. 11-12).

       53.   In October 2020, Q.H. v. Sunshine State Health Plan, 307 So.3d 1, 14

(Fla. 4th DCA 2020), the court found that the Defendant erroneously applied “the

‘overly restrictive’ standard of medical necessity set forth in the Florida

Administrative Code, rather than the more expansive EPSDT standard of whether

the treatment was necessary to ‘correct or ameliorate’ the child’s condition.”

       54.   At Defendant’s guidance and direction, eQHealth applies Defendant’s

medical necessity standard when evaluating all requests for Medicaid coverage,

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including for beneficiaries under age 21. See Fla. Admin. Code R. 59G-1.053 (in

discussing QIO review, the rule defines medical necessity as set forth in Fla.

Admin. Code R. 59G-1.010 and then states “…services for recipients under the age

of 21 years exceeding the coverage described within a policy or the associated fee

schedule may be approved, if medically necessary) (emphasis added).

      55.    Defendant’s contracts with the MCOs require that the MCOs apply

Defendant’s medical necessity standard when evaluating all requests for Medicaid

coverage, including for beneficiaries under age 21. See AHCA, Statewide

Medicaid Managed Care Program, 2018-2023 Model Health Plan Contract,

Attachment II, Core Provisions at 18, 63 & 78, accessed at:

https://ahca.myflorida.com/medicaid/statewide_mc/pdf/Contracts/2020-10-

01/Attachment_II_Core_Contract_Provisions_2020-10-01.pdf.

      56.    If a beneficiary elects a fair hearing to review the denial, reduction, or

termination of a requested service, AHCA hearing officers apply the medical

necessity standard set forth in Fla. Admin. Code R. 59G-1.010 to determine

whether the decision was proper. See Fla. Admin. Code R. 59G-1.053.

      57.    Defendant includes the AHCA EPSDT memo in its training to hearing

officers.

      58.    The AHCA EPSDT memo is included as part of Defendant’s record

on appeals challenging adverse coverage decisions for children under age 21,

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including in the denial of A.W.’s specialty medical bed as discussed in paragraphs

102 to 131 infra.

             VI. FACTS AND ALLEGATIONS OF PLAINTIFFS

       A.    Plaintiff W.B.

       59.   Plaintiff W.B. lives in his family home in St. Augustine, Florida with

his father, David B., his mother Stacy B., and his brothers, J.D.B. (8 years old) and

C.B. (6 ½ years old).

       60.   W.B. is a one-year-old boy diagnosed with a genetic disorder known

as CHARGE syndrome; it presents in less than one out of 10,000 live births in the

U.S.

       61.   The “CHARGE” in CHARGE syndrome is an acronym for the

conditions that occur in children diagnosed with the syndrome: Colobomas (tissue

that normally occurs in or around the eye is missing at birth), Heart defects,

Atresia of the nasal choanae (congenital narrowing of the nasal cavity that causes

difficulty breathing), Retardation of development, Genitourinary abnormalities

(abnormalities of the genital and urinary organs), and Ear and hearing anomalies.

       62.   W.B.’s CHARGE syndrome diagnosis results in multiple congenital

anomalies including colobomas, nasal choanae, right facial palsy, a soft larynx that

partially obstructs his airway, concerns for immunodeficiency, hypoparathyroidism

(low production of parathyroid hormone that causes abnormally low calcium levels

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in blood leading to muscle aches or cramps, seizures, kidney dysfunction, fatigue,

and other symptoms), dysphagia, GERD, and developmental delay.

         63.   W.B. uses a gastronomy tube (g-tube) for his nutritional needs. He

attends a Prescribed Pediatric Extended Care center during the day that provides

nursing services, personal care, and developmental therapies.

         64.   A child diagnosed with CHARGE syndrome will be followed on

average by 17 different medical specialists and will need to undergo more than a

dozen surgical procedures before the age of 10 years old. Accordingly, as

symptoms specific to CHARGE syndrome present, the timing and identification of

medical interventions are critical to ameliorating the impact of the syndrome on a

child.

         65.   W.B. is enrolled in the Florida MCO known as the Children’s Medical

Services Health Plan or the CMS Plan. The CMS Plan is administered by WellCare

Health Plans, Inc.

         66.   W.B.’s primary care physician, Dr. Stephanie Carlin, is an assistant

professor with the Department of Pediatrics, Division of Community and Societal

Pediatrics with the University of Florida Health, Jacksonville (UFHealth

Jacksonville).

         67.   Dr. Carlin practices at UFHealth Jacksonville’s Bower Lyman Center

for Medially Complex Children (the Center). The Center provides a coordinated

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family-focused medical home for children ages 0-21 with complex medical

conditions.

      68.     Dr. Carlin determined that W.B. needs care provided by an out-of-

state specialty clinic called the CHARGE Center, which is run by the Cincinnati

Children’s Hospital (the CHARGE Center).

      69.     Dr. Carlin made this determination because W.B.’s diagnosis is so

rare that the treatment specialists in Florida do not have the requisite expertise to

evaluate W.B.’s condition and coordinate ongoing treatment interventions to

prevent negative clinical outcomes caused by disjointed and varied plans of care

developed by subspecialists who do not have expertise in CHARGE.

      70.     For example, W.B. failed his most recent swallow study in Florida

and continues to struggle with his secretions leading to respiratory distress and

chronic lung disease. It is the opinion of W.B.’s Ear, Nose, and Throat (ENT)

specialist, Dr. Andrew R. Simonsen, that only the CHARGE Center will be able to

evaluate W.B.’s swallowing issues to devise a plan locally to address this health

condition.

      71.     The CHARGE Center is a one-of-a-kind facility in the U.S. that uses a

multidisciplinary approach to coordinate care among multiple specialists, all who

have specific, up-to-date expertise in treating CHARGE syndrome, including




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genetics, ophthalmology, cardiology, plastic surgery, and ENT. There are no

similar clinics in Florida.

      72.    The CHARGE Center combines an aerodigestive evaluation -- a

comprehensive multidisciplinary approach that involves pulmonology,

gastroenterology, and ENT – with a CHARGE evaluation to create a

comprehensive plan of care.

      73.    The CHARGE Center designs their plans of care to ensure that the

treatment interventions, as evaluated and determined by experts in the condition,

are timed correctly which, in turn, optimizes the treatment outcomes for the child.

The CHARGE Center’s continued plan of care can then be executed locally so the

child will have better outcomes throughout the ongoing course of their treatment.

      74.    Coordination also ensures that certain encounters, like anesthesia or

blood draws that are a part of the initial evaluation and treatment at the CHARGE

Center, are scheduled and timed to minimize stress and health risks to the child.

For example, if the child requires multiple surgeries as part of the initial evaluation

at the CHARGE Center, the surgeries are scheduled at the same time so that

anesthesia, a procedure that carries risk especially to young children, only needs to

be administered once.

      75.    The CHARGE Center regularly bills out of state Medicaid programs

for its outpatient hospital services.

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        76.   Under the CHARGE Center’s proposal, W.B. would receive care at

the CHARGE Center for approximately one week while staying in Cincinnati,

Ohio.

        77.   W.B.’s care at the CHARGE Center would be led by Dr. Catherine

Hart, an ENT who specializes in treating CHARGE syndrome. Dr. Hart would

work closely with specialists in pulmonology and gastroenterology to evaluate

W.B.’s ongoing treatment needs and establish a plan of care to be implemented by

his physicians in Florida.

        78.   The coordination between specialists during the weeklong period also

allows visits, testing, and evaluations completed at the CHARGE Center to be

done in a sequence that minimizes the treatment risks to W.B. by consolidating

anesthesia events and blood draws.

        79.   W.B. will undergo multiple surgeries during this evaluation at the

CHARGE Center including microlarnygoscopy, bronchoscopy,

esophagogastroduodenoscopy, and nasal dilation.

        80.   W.B.’s evaluations will also include a swallow study, chest x-ray,

auditory brainstem response test for hearing, anesthesia consultation, and a

cardiology consultation.




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      81.    Since birth, W.B. has had three emergency room visits, four hospital

admissions, and three admissions for observation due to complications that Dr.

Carlin believes can only be ameliorated by treatment at the CHARGE Center.

      82.    Dr. Carlin’s opinion is that W.B. may experience long-term

developmental setbacks if he does not receive the streamlined treatment and care

planning at the CHARGE Center from physicians who specialize in the syndrome.

      83.    Members of W.B.’s Florida aerodigestive team including W.B.’s

ENT, Dr. Simonsen, and his pulmonologist, Dr. Gerardo Vazquez Garcia, both

state that they do not have the specialized expertise needed to treat CHARGE

syndrome and W.B.’s admission to the CHARGE Center is medically necessary

because there are no ENTS or pulmonologists located in Florida with the requisite

expertise.

      84.    W.B.’s family is committed to W.B. receiving the care he needs to

ameliorate his rare condition even if they must travel outside of Florida. Treatment

outside of Florida at the CHARGE Center will be a significant obligation for W.B.

and his family requiring disruption of their daily lives. W.B.’s parents are prepared

to take leave from work and to arrange for the care of their other children to travel

with W.B. to Ohio and actively participate in his care.




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         85.   Since September 2020, Dr. Carlin has requested, and Defendant has

denied, coverage of treatment at the CHARGE Center to address W.B.’s medical

needs.

         86.   In September 2020, the CMS Plan, acting on behalf of Defendant,

denied coverage of outpatient hospital services at The CHARGE Center.

         87.   The CMS Plan applied Defendant’s medical necessity standard to

evaluate W.B.’s request for treatment at the CHARGE Center stating:

               We made our decision because: We determined that your
               requested services are not medically necessary because
               the services do not meet the reason(s) checked below:
               (See Rule 59G-1.010)

               *Must be able to be the level of service that can be safely
               furnished, and for which no equally effective and more
               conservative or less costly treatment is available
               statewide,
               *Must be furnished in a manner not primarily intended
               for the convenience of the recipient, caretaker, or
               provider. (The convenience factor is not applied to the
               determination of the medically necessary level of private
               duty nursing (PDN) for children under the age of 21.)”

         88.   The CMS Plan further justified its denial on the basis that:

               “we received a request to authorize treatment for your
               child with an out of network provider, Dr. Catherine Hart
               at Cincinnati Children’s Hospital. We did not approve the
               request for authorization because out of network services
               are not a covered benefit when services are available
               within your plan. This service can be provided by one of
               the following in network providers….”



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      89.     On October 15, 2020, Dr. Carlin’s office filed an appeal on behalf of

W.B. requesting that the CMS Plan overturn its denial and authorize treatment at

the CHARGE Center.

      90.     Dr. Carlin’s office responded to the CMS Plan denial and,

specifically, its finding that W.B. can be served by individual in-network providers

by stating:

              “there are no CHARGE centers in network that have a
              multidisciplinary team of providers who specialize in
              CHARGE. [W.B.] has had a complicated clinical course
              and his care would benefit from a multidisciplinary team
              approach to ensure that we are maximizing his care
              locally.”

      91.     On November 13, 2020, CMS sent Dr. Carlin’s office a second denial

affirming its first decision.

      92.     The second CMS Plan denial states:

              On November 11, 2020, after consideration of the
              information you provided to…[CMS]…in support of
              your plan appeal…[CMS]…hereby Denies your plan
              appeal. As a result, you will not receive service, effective
              11/11/20.

              The facts we used to make our decision are: We have
              doctor’s [sic] who can see and manage your condition.
              The reasons for this decision are based on a set of
              standards. This included Wellcare Health Plans, Inc. Find
              A provider Website Member Benefit.”

      93.     Defendant adopts CMS plan denials.



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      94.    The CMS Plan denied W.B.’s request on the basis that treatment at the

CHARGE Center was not “the level of service that can be safely furnished, and for

which no equally effective and more conservative or less costly treatment is

available statewide.”

      95.    In evaluating W.B.’s request under Defendant’s standard, and

specifically whether treatment with in-network providers is “equally effective,” the

CMS Plan did not consider Dr. Carlin’s opinion that specialists in-network with the

CMS plan were insufficient to meet W.B.’s treatment needs because they do not

have expertise in CHARGE.

      96.    The CMS plan did not explain why the services it offers are equally

effective to treatment at the CHARGE Center or how those services would correct

or ameliorate W.B.’s documented healthcare needs.

      97.    The CMS Plan also denied W.B.’s request under Defendant’s medical

necessity standard requiring that the service “must be furnished in a manner not

primarily intended for the convenience of the recipient, caretaker, or provider.”

      98.    Rather than acknowledge the ample evidence presented by Dr. Carlin

justifying W.B.’s need for specialized treatment at the CHARGE Center, which is

not convenient for anyone, and explaining why, in the opinion of the CMS Plan,

the requested treatment would not correct or ameliorate W.B.’s condition, the CMS

Plan relied on Defendant’s medical necessity standard to deny the request.

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      99.    In its denials to W.B., the CMS Plan did not use or reference EPSDT

or its “correct or ameliorate” standard to evaluate W.B.’s request.

      100. By failing to evaluate W.B.’s request for coverage under the EPSDT

standard, Defendant fails to discharge its duty under federal Medicaid law to

provide all benefits or services for Medicaid beneficiaries under age 21 that are

“necessary to correct or ameliorate defects and physical and mental illnesses and

conditions….”

      101. Defendant continues to deny W.B.’s requests for Medicaid to provide

treatment at the CHARGE Center as prescribed by his treating professionals.

      B.     Plaintiff A.W.

      102. Plaintiff A.W. (11 years old) lives in her family home in Jacksonville,

Florida with her mother, Brittany C., her father Antonio W., and her sibling, A.W.

(7 years old).

      103. A.W. (11 years old) was born premature at 24 weeks of gestation and

is a medically complex child. A.W. is diagnosed with quadriplegic cerebral palsy,

global developmental delay, muscle spasticity, partial epilepsy with impairment of

consciousness, neuromuscular scoliosis, cortical visual impairment, spastic hip

dislocation, dysphagia causing pulmonary aspiration with swallowing (difficult or

improper swallowing that leads to the inhalation of foreign material into the lower

airway), obstructive sleep apnea syndrome, and gastroesophageal reflux disease.

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      104. A.W. is non-verbal, is incontinent of bowel and bladder, is non-

ambulatory and requires either a two-person lift or a Hoyer lift (medical equipment

that assists a caregiver in transfers). A.W. uses a wheelchair for all mobility

purposes.

      105. A.W. uses a g-tube for administration of nutrition and medication.

The g-tube has extended tubing. Her g-tube feeding schedule includes enteral feeds

continuously at night.

      106. A.W. is a high risk for falling out of bed. A.W.’s developmental delay

means that she does not understand how to protect herself from falls. Due to her

inability to ambulate, she cannot physically protect herself from falls.

      107. A.W. has previously fallen out of bed. As recently as May 6, 2021,

A.W. fell out of bed and was found hanging by her foot with her face pressed up

against the wall.

      108. A.W.’s treating physician is Dr. Stephanie Carlin.

      109. Dr. Carlin prescribed for A.W. a specialty medical bed, which is a

piece of medical equipment.

      110. The specialty medical bed prescribed by Dr. Carlin is called a Dream

Series bed.




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      111. The Dream Series bed is an enclosed bed with a manual adjustable

head, an IV pole, and access ports built into the foot and headboards for routing of

medical tubing.

      112. The bed is built with an unbroken perimeter between the supportive

mattress and the frame to reduce gaps and openings that lead to entrapment. The

bed was specifically designed to eliminate the risk of entrapment posed by a

traditional hospital bed.

      113. The bed’s enclosure door can be operated with one hand maximizing

caregiver access.

      114. A.W.’s scoliosis requires a supportive mattress and bedframe that will

alleviate pressure along her spine. The Dream Series bed has the supportive

mattress and frame that A.W.’s condition requires, while a hospital bed does not.

      115. A.W.’s seizures and extreme spasticity can cause her to fall out of bed

involuntarily or become entrapped between the frame of a traditional hospital bed

and its mattress or within the opening of a hospital bed’s siderails. She is unable to

free herself if she becomes entrapped and she cannot call out for help. The Dream

Series bed’s unbroken perimeter, which minimizes gaps between the frame and

enclosure, prevents A.W. from falling out and from becoming entrapped.




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      116. A.W.’s various health conditions create a risk for aspiration, chronic

coughing, recurrent pneumonia, and choking. The adjustable head of the Dream

Series bed will alleviate her symptoms and minimize her risk for aspiration.

      117. A.W. relies on caregivers to physically assist with all activities of

daily living, including toileting and transferring. The Dream Series bed is designed

so the high sides (which prevent falls) can be raised and lowered, and the doors can

be unlatched or secured with minimal effort. This ensures that A.W.’s caregivers

can always access her quickly.

      118. A.W.’s g-tube has previously been found with the tubing wrapped

around her neck, a concern that is heightened by the fact that A.W. uses her g-tube

for continuous enteral feeds at night. If the g-tube becomes wrapped around

A.W.’s neck, she is unable to free herself and she cannot call for help. The Dream

Series bed is designed with a special outlet to route the extension tubing, thereby

mitigating this danger.

      119. On February 24, 2020, eQHealth, acting on behalf of Defendant,

issued a notice to A.W. that denied coverage of the Dream Series bed prescribed

by Dr. Carlin.

      120. The February 24th notice states:

             The request for service is denied in whole or in part
             because they [sic] are not medically necessary as defined
             in Rule 59G-1.010(166), Florida Administrative Code.

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             Specifically, the requested services are not medically
             necessary under the following standards:

             Individualized, specific, and consistent with the
             symptoms or confirmed diagnosis of the illness or injury
             under treatment, and not in excess of the patient’s needs.

      121. The February 24th denial further states that:

             The clinical information provided does not support
             Medicaid’s medical necessity definition. The patient is a
             10 year old with CP who is non-ambulatory, non-verbal,
             and has GT and the request is for a specialty bed. The
             request is excessive because a hospital bed should
             suffice. A specialy [sic] bed was previously denied last
             November.

      122. On March 2, 2020, A.W.’s mother requested an administrative fair

hearing to challenge eQHealth’s February 24th denial of the specialty bed for A.W.

      123. On May 6, 2020, an AHCA hearing officer issued a final order, which

upheld eQHealth’s denial and found that a specialty bed is not medically necessary

for A.W.

      124. In the “Conclusions of Law” section of AHCA’s final order, the

hearing officer relies on the medical necessity standards in Fla. Admin. Code R.

59G-1.010 to affirm eQHealth’s denial, concluding that “Petitioner did not show

that a specialty bed is individualized, specific, and consistent with the symptoms or

confirmed diagnosis of the illness or injury under treatment, and not in excess of

the Petitioner’s needs.”



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      125. AHCA’s hearing order adopts the opinion of eQHealth’s medical

director, Dr. Rakesh Mittal, finding that a traditional “hospital bed is sufficient to

meet A.W.’s needs because it is height adjustable, inclines, has stable rails, and can

be used with thick foam padding to protect [A.W.]”

      126. The hearing officer did not address Dr. Carlin’s concerns about why a

traditional bed was insufficient to meet A.W.’s needs, e.g., that A.W. risks

becoming entrapped between the mattress and side rails of a hospital due to her

spasticity and seizures.

      127. In contrast, EPSDT requires that some deference be accorded to the

treating physician’s opinion and, where there is a disagreement, the final decision

should be based on the evidence. The hearing officer, however, did not consider

the evidence of Dr. Carlin’s testimony or otherwise accord her opinion deference.

      128. The hearing officer’s opinion does not discuss whether the foam

padding used with a traditional medical bed is an equally effective alternative to

the supportive mattress used with A.W.’s requested specialty medical bed. In

contrast, EPSDT requires that the state evaluate whether a less expensive service,

like a hospital bed, is equally effective to the requested service. Id.

      129. Because the hearing officer relied on Defendant’s medical necessity

standard to evaluate the Medicaid coverage for A.W.’s requested benefit – rather

than evaluate the coverage under the EPSDT standard – Defendant denied A.W.

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the care and treatment necessary to correct or ameliorate her conditions in violation

of federal Medicaid law.

       130. By failing to evaluate A.W.’s request for coverage under the EPSDT

standard, Defendant fails to discharge its duty under federal Medicaid law to

provide all benefits or services for Medicaid beneficiaries under age 21 that are

“necessary to correct or ameliorate defects and physical and mental illnesses and

conditions….”

       131. Defendant continues to deny A.W.’s requests for Medicaid to provide

a specialty medical bed as prescribed by her treating professionals.

           VII. CAUSE OF ACTION: Violation of the Medicaid Early and
              Periodic Screening, Diagnostic and Treatment Provisions

       132. Plaintiffs incorporate and re-allege paragraphs 1 through 131 as if

fully set forth herein.

       133. In violation of the EPSDT provisions of the Medicaid Act, 42 U.S.C.

§§ 1396a(a)(10)(A), 1396d(a)(4)(B), 1396a(a)(43)(C), and 1396d(r)(5), the

Defendant is failing to decide requests for medical services on behalf of Plaintiffs

and all other similarly situated Florida Medicaid beneficiaries under the age of 21

in accordance with the Medicaid Act’s EPSDT “correct or ameliorate” standard

and to provide Plaintiffs and all other similarly situated Florida Medicaid

beneficiaries under the age of 21 with services and benefits necessary to correct or

ameliorate their health conditions.
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                         VIII. REQUEST FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court:

   A. Certify this action as a class action pursuant to Fed. R. Civ. P. 23;

   B. Issue a declaratory judgment pursuant to 28 U.S.C. § 2201 and Fed. R. Civ.

      P. 57 that Defendant’s application of its medical necessity standard set forth

      in Fla. Admin. Code R. 59G-1.010 to beneficiaries under 21 violates the

      EPSDT requirements in federal Medicaid law;

   C. Grant a preliminary and permanent injunction directing Defendant to

      evaluate Medicaid coverage for W.B. and A.W.’s requested services under a

      standard of medical necessity that comports with federal Medicaid law and

      prohibit Defendant from denying the medically necessary services;

   D. Grant a permanent injunction directing Defendant to:

      1) Cease applying its standard of medical necessity under Fla. Admin. Code

         R. 59G-1.010 for named Plaintiffs and all Medicaid beneficiaries under

         age 21; and

      2) Adopt a medical necessity standard for beneficiaries under age 21 that

         comports with federal Medicaid law.

   E. Retain jurisdiction over this action to ensure Defendants’ compliance with

      the mandates of the Court’s Orders;




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   F. Award to Plaintiff the costs and reasonable attorney fees pursuant to 42

      U.S.C. § 1988; and,

   G. Order such other relief as this Court deems just and equitable.



Respectfully submitted this 6th day of August 2021.

                                      Plaintiffs by their Attorneys,

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